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   /s/ Christopher A. Ward                      11/04/2020
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                             EHVW LQWHUHVWV RI WKH &RPSDQ\ DQG :KLWH 0RXQWDLQ DQG WKHLU FUHGLWRUV DQG
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                 DFWLQJ WRJHWKHU RU LQGLYLGXDOO\ WR H[HFXWH DQG ILOH DQ\ DQG DOO SHWLWLRQV
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                 GHHGV ZKLFK WKH\ GHHP QHFHVVDU\ SURSHU DQG GHVLUDEOH LQ FRQQHFWLRQ ZLWK
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                    EXHIBIT A
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                              UNANIMOUS WRITTEN CONSENT OF
                         THE MEMBERS OF WHITE MOUNTAIN TISSUE, LLC

                The undersigned, constituting all of the members (the “Members”) of White Mountain
         Tissue, LLC, a Delaware limited liability company (the “Company”), and in accordance with the
         Limited Liability Company Agreement of the Company dated on or about April 17, 2012 (as may
         be amended from time to time), hereby consent to, approve, and adopt the following resolutions
         by unanimous written consent:

         WHEREAS            The Members have reviewed and considered the financial and operational
                            condition of the Company and the Company’s business on the date hereof,
                            including the historical performance of the Company, the assets of the
                            Company, the current and long-term liabilities of the Company, the market
                            for the Company’s assets, credit market conditions, and macroeconomic
                            conditions impacting the Company, and have been kept apprised of the
                            efforts to market and sell the businesses operated by the Company and its
                            majority owner, Gorham Paper and Tissue, LLC; and further

         WHEREAS            The members of the Company have received the recommendation of Bradley
                            Scher (“Scher”), the Manager of the Company, who is an independent party
                            unaffiliated with any of the Company’s equity holders, lenders or the
                            proposed purchaser of the Company’s assets, that it is desirable and in the
                            best interests of the Company and its creditors, and other interested parties
                            that a petition be filed by the Company seeking relief under the provisions of
                            chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and
                            to pursue debtor in possession financing and a sale of the Company’s assets;
                            and further

         RESOLVED:          That in the judgment of the Members, it is desirable and in the best interests
                            of the Company, its creditors, Members, and other interested parties that a
                            petition be filed by the Company seeking relief under the provisions of
                            Chapter 11 of the Bankruptcy Code; and further,

         RESOLVED:          That the Company be and hereby is authorized and empowered to execute
                            and verify or certify a petition under Chapter 11 of the Bankruptcy Code and
                            to cause the same to be filed in the United States Bankruptcy Court for the
                            District of Delaware or any other appropriate bankruptcy court (the
                            “Bankruptcy Court”) at such time as the Company shall determine; and
                            further,

         RESOLVED:          That Scher, the managing member of Ocean Ridge Capital Advisors, LLC
                            and the sole Manager of the Company; M. Wayne Johnson, the Chief
                            Financial Officer of the Company (“Johnson”); and Dick Arnold, the Chief
                            Executive Officer of the Company (“Arnold” and, together with Scher and
                            Johnson, the “Authorized Parties”), be and hereby are authorized on behalf
                            of, and in the name of, the Company, acting together or individually, to
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            execute and file any and all petitions, schedules, motions, lists, applications,
            pleadings, and other papers, to take any and all such other and further actions
            which the Company or its legal counsel may deem necessary or appropriate
            to file the voluntary petition for relief under Chapter 11, and to take and
            perform any and all further acts and deeds which they deem necessary,
            proper, and desirable in connection with the Chapter 11 case, with a view to
            the successful prosecution of such case, including, without limitation,
            seeking authority to borrow under a pre- or post-petition credit facility, to
            grant liens and other security therefor, seeking authority to sell all or
            substantially all of the Company’s assets, and to file and prosecute a plan of
            reorganization or liquidation; and further,

RESOLVED:   That the Authorized Parties, acting together or individually, be and are
            hereby authorized and directed to take such actions and to make, sign,
            execute, acknowledge, and deliver (and record in a relevant office of the
            county clerk, if necessary) any and all such documents listed above
            (including exhibits thereto), including any and all affidavits, orders,
            directions, certificates, requests, receipts, financing statements, or other
            instruments as may reasonably be required to give effect to these resolutions,
            and to execute and deliver such agreements (including exhibits thereto) and
            related documents, and to fully perform the terms and provisions thereof; and
            further,

RESOLVED:   That the Company be and hereby is authorized to retain the law firm of
            Bernstein, Shur, Sawyer & Nelson, P.A. (“BSSN”) as general bankruptcy
            counsel to the Company in connection with the Chapter 11 case if the
            Company determines that the filing of a voluntary petition for relief is proper,
            and to pay BSSN at its standard hourly rates in connection with its
            representation of the Company, and to provide BSSN with a retainer in an
            amount to be agreed upon by BSSN and the Company, and to reimburse
            BSSN for any actual expenses incurred in connection with its employment by
            the Company; and further,

RESOLVED:   That the Company be and hereby is authorized to retain the law firm of
            Polsinelli PC (“Polsinelli”) as local bankruptcy counsel to the Company in
            connection with the Chapter 11 case if the Company determines that the
            filing of a voluntary petition for relief is proper, and to pay Polsinelli at its
            standard hourly rates in connection with its representation of the Company,
            and to provide Polsinelli with a retainer in an amount to be agreed upon by
            Polsinelli and the Company, and to reimburse Polsinelli for any actual
            expenses incurred in connection with its employment by the Company; and
            further

RESOLVED:   That the Company be and hereby is authorize to retain B. Riley Securities
            and/or its affiliates (“B. Riley”) to provide investment banking services to the
            Company as the Company determines appropriate, and to authorize the


                                         2
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    Authorized Parties, acting together or individually, to engage B. Riley in
    connection with the reorganization of the Company.



                 [Signatures on following page]




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                                    CLASS A MEMBER:

                                    GORHAM PAPER AND TISSUE, LLC



Date: 11/3/2020                     By:
                                    Name: Mike Katzenstein
                                    Title: Chief Restructuring Officer,
                                           Zohar III, Limited

                                    CLASS B MEMBERS:

                                    ZOHAR CDO 2003-1, LIMITED



Date: 11/3/2020                     By:
                                    Name: Mike Katzenstein
                                    Title: Chief Restructuring Officer

                                    ZOHAR II 2005-1, LIMITED



Date: 11/3/2020                     By:
                                    Name: Mike Katzenstein
                                    Title: Chief Restructuring Officer

                                    ZOHAR III, LIMITED



Date: 11/3/2020                     By:
                                    Name: Mike Katzenstein
                                    Title: Chief Restructuring Officer




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Fill in this information to identify the case:

Debtor name: Gorham Paper and Tissue, LLC, et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                         ¨ Check if this is an
                                                                                                                                                 amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                             12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and             Name, telephone number, and       Nature of the             Indicate if   Amount of unsecured claim
    complete mailing address,        email address of creditor contact claim                     claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                                 (for example,             contingent,   claim amount. If claim is partially secured, fill in
                                                                       trade debts,              unliqui-      total claim amount and deduction for value of
                                                                       bank loans,               dated, or     collateral or setoff to calculate unsecured claim.
                                                                       professional              disputed
                                                                       services, and                           Total claim, if    Deduction for      Unsecured
                                                                       government                              partially          value of           claim
                                                                       contracts)                              secured            collateral or
                                                                                                                                  setoff

1   Recycling Associates Inc.        Mike Vellucci
                                     mike@recyclingassociates.com
                                                                                 Trade Payable     ¨C                                                $1,025,170.85
    1 Whipple St
    Nashua NH 03060                  Tel: 978-479-0832                                             ¨U
                                                                                                   ¨D
2   Gulf Island Pond Oxygenation     Jessica Ramnarace
                                     jessica.ramnarace@brookfieldrenewable.com
                                                                                 Trade Payable     ¨C                                                $519,401.60
    Project
    75 State Street, Suite 2701      Tel: 819-561-2722 ext. 6631                                   ¨U
    Boston MA 02109
                                                                                                   ¨D
3   Solenis LLC                      Michael Dutil                               Trade Payable     ¨C                                                $458,603.65
    PO Box 116232                    MPDUTIL@SOLENIS.COM
    Atlanta GA 30368                 Tel: 207-242-2593                                             ¨U
                                                                                                   ¨D
4   Town of Gorham                   Carol Porter                                Trade Payable     ¨C                                                $438,930.19
    20 Park Street                   CPorter@GorhamNH.org
    Gorham NH 03581-1694             Tel: 603-466-2744 Ext 7                                       ¨U
                                                                                                   ¨D
5   Brookfield Renewable Trading     Mark Scanlan
                                     Mark.Scanlan@brookfieldrenewable.com
                                                                                 Trade Payable     ¨C                                                $429,983.85
    & Marketing LP
    41 Victoria Street               Tel: 646 992 9302                                             ¨U
    Gatineau QC J8X 2A1
    Canada
                                                                                                   ¨D
6   Resolute FP US Inc.              JF Royer                                    Trade Payable     ¨C                                                $345,947.68
    PO Box 8500                      jf.royer@resolutefp.com
    Philadelphia PA 19178            Tel: 514-262-9854                                             ¨U
                                                                                                   ¨D
7   Voith Paper Fabric & Roll        Bill Aurand                                 Trade Payable     ¨C                                                $313,578.60
    Systems                          Bill.Aurand@Voith.com
    PO Box 1411                      Tel: 518 469 9351                                             ¨U
    Wilson NC 27894
                                                                                                   ¨D



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Debtor   Gorham Paper and Tissue, LLC, et al.                                                                       Case number (if known) 20-_____

    Name of creditor and           Name, telephone number, and       Nature of the         Indicate if   Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim                 claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,         contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,          unliqui-      total claim amount and deduction for value of
                                                                     bank loans,           dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional          disputed
                                                                     services, and                       Total claim, if    Deduction for      Unsecured
                                                                     government                          partially          value of           claim
                                                                     contracts)                          secured            collateral or
                                                                                                                            setoff

8   AVRRDD - Mt. Carberry          Sharon Gauthier                         Trade Payable     ¨C                                                $247,464.97
    Landfill                       sgauthier@avrrdd.org
    PO Box 336                     Tel: 603-752-3342                                         ¨U
    Berlin NH 03570
                                                                                             ¨D
9   Select Products Holdings       Jamie Roffers                           Trade Payable     ¨C                                                $242,516.71
    1 Arnold Drive                 jamie@selectph.com
    Huntington NY 11743            Tel: 570-785-2000                                         ¨U
                                                                                             ¨D
10 Kruger                          Paul de Blois                           Trade Payable     ¨C                                                $225,025.47
   5820 Place Turcot               Paul.deBlois@kruger.com
   Montreal QC H4C 1W3             Tel: 514-798-4492                                         ¨U
   Canada
                                                                                             ¨D
11 Albany International Corp       Scott W. Graham                         Trade Payable     ¨C                                                $203,090.00
   PO Box 75158                    Scott.Graham@albint.com
   Charlotte NC 28275-0158         Tel: 301-616-1003                                         ¨U
                                                                                             ¨D
12 Monson Paper, LLC               Eric Lombardi                           Trade Payable     ¨C                                                $181,166.19
   (Settlement)                    Elombardi@monsonpaper.com
   121 Memorial Drive              Tel: 413- 246-1681                                        ¨U
   Springfield MA 01104
                                                                                             ¨D
13 City of Berlin                  Kris Davis                              Trade Payable     ¨C                                                $172,010.18
   168 Main Street                 kdavis@berlinnh.gov
   Berlin NH 03570-2494            Tel: 603-752-6350                                         ¨U
                                                                                             ¨D
14 U.S. Department of Labor-       Rosemarie O. Cole                       Trade Payable     ¨C                                                $168,510.75
   OSHA                            Cole.Rosemarie.O@dol.gov
   53 Pleasant State- Rm. 3901     Tel: 603 225-1629                                         ¨U
   J.C. Cleveland Federal Bldg.
   Concord NH 03301
                                   Fax: 603 225-1580
                                                                                             ¨D
15 Constellation NewEnergy, Inc.   Clayton Picken
                                   clayton.picken@constellation.com
                                                                           Trade Payable     ¨C                                                $131,444.18
   1310 Point St- 8th Floor
   Baltimore MD 21231              Tel: 443-994-4033                                         ¨U
                                                                                             ¨D
16 Vets Securing America           Jerry Gregory
                                   jerry@vetssecuringamerica.com
                                                                           Trade Payable     ¨C                                                $124,874.64
   1125 W. 190th Street
   Los Angeles CA 90248            Tel: 800-441-1808                                         ¨U
                                                                                             ¨D
17 Woodland Pulp, LLC              Andrew Then                             Trade Payable     ¨C                                                $123,944.40
   144 Main Street                 Andrew.then@igic.com
   Baileyville ME 04694                                                                      ¨U
                                                                                             ¨D
18 Valmet Ltd/GL&V USA, Inc.       Bob Blanchard                           Trade Payable     ¨C                                                $122,759.07
   PO Box 743104                   bob.blanchard@valmet.com
   Atlanta GA 30374                Tel: 207-333-1008                                         ¨U
                                                                                             ¨D




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Debtor    Gorham Paper and Tissue, LLC, et al.                                                                       Case number (if known) 20-_____

    Name of creditor and             Name, telephone number, and       Nature of the        Indicate if   Amount of unsecured claim
    complete mailing address,        email address of creditor contact claim                claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code                                                 (for example,        contingent,   claim amount. If claim is partially secured, fill in
                                                                       trade debts,         unliqui-      total claim amount and deduction for value of
                                                                       bank loans,          dated, or     collateral or setoff to calculate unsecured claim.
                                                                       professional         disputed
                                                                       services, and                      Total claim, if    Deduction for      Unsecured
                                                                       government                         partially          value of           claim
                                                                       contracts)                         secured            collateral or
                                                                                                                             setoff

19 Blind Industries & Services of    Holly Beth Stanley                     Trade Payable     ¨C                                                $102,626.76
   Maryland                          hstanley@BISM.org
   3345 Washington Blvd              Tel: 410 737-2623                                        ¨U
   Baltimore MD 21227
                                                                                              ¨D
20 Axchem USA, Inc.                  Alison Schott                          Trade Payable     ¨C                                                $79,624.97
   PO Box 277832                     aschott@axchemusa.com
   Atlanta GA 30384                  Tel: 336-632-0500                                        ¨U
                                                                                              ¨D
21 IPFS Corporation                                                         Trade Payable     ¨C                                                $77,637.18
   2777 Allen Pkwy                   Tel: 877-687-9824
   Suite 550                         Fax: 832-308-7925                                        ¨U
   Houston TX 77019
                                                                                              ¨D
22 Anthem Blue Cross & Blue          Denise King                            Trade Payable     ¨C                                                $76,415.91
   Shield NH                         denise.king@anthem.com
   PO Box 1168                                                                                ¨U
   Newark NJ 07101-1168
                                                                                              ¨D
23 Bridge View Paper Co, LLC         Steven Pollack
                                     spollack@bridgeviewpaper.com
                                                                            Trade Payable     ¨C                                                $62,221.60
   6101 Tacony Street
   Philadelphia PA 19135             Tel: 215-992-8990 Ext.4404                               ¨U
                                                                                              ¨D
24 Western Express Inc               Candice Lavender                       Trade Payable     ¨C                                                $58,900.00
   PO Box 935315                     Clavender@westernexp.com
   Atlanta GA 31193-5315             Tel: 615-369-8230                                        ¨U
                                                                                              ¨D
25 Portland Natural Gas              Rita Homan                             Trade Payable     ¨C                                                $57,779.50
   Transmission System               rita_homan@tcenergy.com
   700 Louisiana Street- Suite       Tel: 832-320-5449                                        ¨U
   700
   Houston TX 77002-2700
                                                                                              ¨D
26 Douglas Pipeline Company          Ryan Estabrook
                                     restabrook@douglaspipeline.com
                                                                            Trade Payable     ¨C                                                $55,451.40
   901 Castle Shannon Blvd
   Pittsburgh PA 15234               Tel: 412-531-2440                                        ¨U
                                                                                              ¨D
27 BerryDunn                         Mike Jurnak                            Trade Payable     ¨C                                                $51,055.00
   1000 Elm St- 4th Floor            mjunak@berrydunn.com
   Manchester NH 03101               Tel: 603-518-2600                                        ¨U
                                     Fax: 603-666-4755
                                                                                              ¨D
28 FIS Implanti S.R.L.               Fabio Malnati                          Trade Payable     ¨C                                                $49,598.56
   Via Leonardo Da Vinci No. 5       commerciale@fisimpianti.it
   Cassinia de Pecchi 20060          Tel: # 39 02 95 44 99 1                                  ¨U
   Italy                             Fax: # 39 02 95 34 44 28
                                                                                              ¨D
29 Baker Newman & Noyes, LLC         James Boissonneault                    Trade Payable     ¨C                                                $48,675.00
   280 Fore Street                   jboissonneault@bnncpa.com
   Portland ME 04101-4177            Tel: 207-879-2100                                        ¨U
                                     Fax: 207-774-1793
                                                                                              ¨D




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Debtor   Gorham Paper and Tissue, LLC, et al.                                                                    Case number (if known) 20-_____

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   complete mailing address,       email address of creditor contact claim              claim is      If the claim is fully unsecured, fill in only unsecured
   including zip code                                                (for example,      contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-      total claim amount and deduction for value of
                                                                     bank loans,        dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                    Total claim, if    Deduction for      Unsecured
                                                                     government                       partially          value of           claim
                                                                     contracts)                       secured            collateral or
                                                                                                                         setoff

30 Bancroft Contracting            George Angevine
                                   george@bancroftcontracting.com
                                                                        Trade Payable     ¨C                                                $40,280.60
   Corporation
   23 Phillips Road                Tel: 207-743-8946                                      ¨U
                                   Fax: 207-743-0636
   South Paris ME 04281
                                                                                          ¨D




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